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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
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                                                                          9   WAYMO LLC,                                                 No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                         ORDER DENYING REQUESTS
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                   TO FILE NEW MOTION FOR
                                                                         13   OTTOMOTTO LLC; and OTTO                                    RELIEF AND ADDITIONAL
                                                                              TRUCKING LLC,                                              MOTIONS IN LIMINE
                                                                         14                  Defendants.
                                                                         15                                               /

                                                                         16          Plaintiff Waymo LLC’s request to file a new “motion for relief based on defendants’
                                                                         17   litigation misconduct” (Dkt. No. 2472) is DENIED. Waymo’s requests to file additional motions
                                                                         18   in limine (Dkt. Nos. 2488, 2490) are also DENIED without prejudice to targeted objections at
                                                                         19   trial to specific items of evidence or argument.
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                                                                         21          IT IS SO ORDERED.
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                                                                         23   Dated: January 18, 2018.
                                                                         24                                                          WILLIAM ALSUP
                                                                                                                                     UNITED STATES DISTRICT JUDGE
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